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    1    CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
         Peter A. Schey (Cal. Bar No. 58232)
    2
         Carlos Holguín (Cal. Bar No. 90754)
    3    256 South Occidental Boulevard
         Los Angeles, CA 90057
    4    Telephone: (213) 388-8693
    5    Facsimile: (213) 386-9484
         Email: pschey@centerforhumanrights.org
    6           crholguin@centerforhumanrights.org
    7
         ORRICK, HERRINGTON & SUTCLIFFE LLP
    8    Elena Garcia (Cal. Bar No. 299680)
    9
         egarcia@orrick.com
         777 South Figueroa Street, Suite 3200
    10   Los Angeles, CA 90017
         Telephone: (213) 629-2020
    11

    12   Attorneys for plaintiffs (listing continues on following page)
    13                                  UNITED STATES DISTRICT COURT
    14
                             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    15

    16    JENNY LISETTE FLORES, et al.,                )    Case CV 85-4544 DMG-AGRx
                                                       )
    17                    Plaintiffs,                  )   CORRECTED EXHIBIT 10 IN SUPPORT
    18
                                                       )   OF PLAINTIFFS’ MOTION TO ENFORCE
                 - vs -                                )   SETTLEMENT AGREEMENT
    19                                                 )   [REDACTED VERSION TO BE FILED
          WILLIAM BARR, ATTORNEY GENERAL               )   UNDER SEAL] VOL. 2 OF 5
    20
          OF THE UNITED STATES, et al.,
    21
                          Defendants.                       [HON. DOLLY M. GEE]
    22
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     1     Plaintiffs’ counsel, continued:
     2
           LA RAZA CENTRO LEGAL, INC.
     3     Michael S. Sorgen (Cal. Bar No. 43107)
           474 Valencia Street, #295
     4

     5     THE LAW FOUNDATION OF SILICON VALLEY
           LEGAL ADVOCATES FOR CHILDREN AND YOUTH
     6     Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
     7     Katherine H. Manning (Cal. Bar No. 229233)
           Annette Kirkham (Cal. Bar No. 217958)
     8     4 North Second Street, Suite 1300
     9     San Jose, CA 95113
           Telephone: (408) 280-2437
     10    Facsimile: (408) 288-8850
           Email: jenniferk@lawfoundation.org
     11
                  kate.manning@lawfoundation.org
     12           annettek@lawfoundation.org
     13
           NATIONAL CENTER FOR YOUTH LAW
     14    Leecia Welch (Cal. Bar No. 208741)
           Neha Desai (Cal. RLSA Bar No. 803161)
     15    405 14th Street, 15th Floor
     16    Oakland, CA 94612
           Telephone: (510) 835-8098
     17    Email: lwelch@youthlaw.org
                  ndesai@youthlaw.org
     18

     19
           U.C. DAVIS SCHOOL OF LAW
           Holly S. Cooper (Cal. Bar No. 197626)
     20    One Shields Ave. TB 30
           Davis, CA 95616
     21
           Telephone: (530) 754-4833
     22    Email: hscooper@ucdavis.edu
     23

     24

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1                                CERTIFICATE OF SERVICE
2

3          I, Peter Schey, declare and say as follows:
4          I am over the age of eighteen years of age and am a party to this action. I am
5
     employed in the County of Los Angeles, State of California. My business address is
6

7
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.

8          On this date, June 14, 2019, I electronically filed the following document(s):
9
     CORRECTED EXHIBIT 10 IN SUPPORT OF MOTION TO ENFORCE SETTLEMENT
10   AGREEMENT [REDACTED VERSION OF BRIEF PROPOSED TO BE FILED UNDER SEAL] VOL. 2
     OF 5
11

12
     with the United States District Court, Central District of California by using the
13   CM/ECF system. Participants in the case who are registered CM/ECF users will be
14   served by the CM/ECF system.

15   On June 14, 2019, I also served true and correct copies of the above document to the
16   interested parties by sending copies to the email address of defendants’ counsel Sarah
     Fabian.
17
                                                               /s/Peter Schey
18
                                                               Attorney for Plaintiffs
19

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                                                          CV 85-4544-DMG (AGRX)
